UNITED STATES DISTRICT COURT fe ee
MIDDLE DISTRICT OF FLORIDA 2020 JUN 17) PM 5: 52
ORLANDO DIVISION —

UNITED STATES OF AMERICA

Vv. CASE NO. 6:20-cr-A1-Orl—- 3\LRn
18: U.S.C.:§ 22614)
JOEL MICAH GREENBERG 18 U.S.C. § 1028(a)(7)
INDICTMENT
The Grand Jury charges:
COUNT ONE
(Stalking)

A. Introduction

At times relevant to this Indictment:

1. The defendant, JOEL MICAH GREENBERG, was the elected
Tax Collector of Seminole County, Florida, in the Middle District of Florida.
JOEL MICAH GREENBERG used the mail, an interactive computer service,
an electronic communication service, an electronic communication system of
interstate commerce, and a facility of interstate commerce to engage in a course
of conduct that caused, attempted to cause, and would be reasonably expected
to cause substantial emotional distress to a political opponent who worked at a
school located in the Middle District of Florida (referred to herein as the “school

employee”).
2. JOEL MICAH GREENBERG caused letters to be sent by the
United States Mail to the school located in the Middle District of Florida where
the school employee worked. The letters falsely represented that they were
being sent by an anonymous “very concerned student” of the school who had
information that the school employee had engaged in sexual misconduct with a
particular student, when in truth and in fact, as JOEL MICAH GREENBERG
then and there well knew, the allegations were false.

3. JOEL MICAH GREENBERG caused a Twitter account to be set
up using the name and photograph of the school employee. JOEL MICAH
GREENBERG caused postings to be made using that account that represented
that the school employee was a segregationist and in favor of white supremacy,
when in truth and in fact, as JOEL MICAH GREENBERG then and there well
knew, JOEL MICAH GREENBERG caused the Twitter account to be
established without the school employee’s knowledge, consent, or
authorization. The Internet was used to establish the Twitter account and to
make the postings for that account.

4. JOEL MICAH GREENBERG caused a Facebook account to be
set up that claimed to belong to a “very concerned teacher” at the school located
in the Middle District of Florida where the school employee worked. JOEL

MICAH GREENBERG caused postings to be made using that account that
alleged that the school employee had engaged in sexual misconduct with a
student, when in truth and in fact, as JOEL MICAH GREENBERG then and
there well knew, the allegations were false. The Internet was used to establish
the Facebook account and to make the postings for that account.

5. Facebook and Twitter were each an interactive computer service,
an electronic communication service, and an electronic communication system
of interstate commerce. The Internet was a facility of interstate commerce.

B. Course of Conduct

6. Beginning on or about a date unknown to the Grand Jury, but not
later than on or about October 10, 2019, and continuing through and including
on or about November 15, 2019, in the Middle District of Florida, and
elsewhere, the defendant,

JOEL MICAH GREENBERG,

with the intent to harass and intimidate, did knowingly use the mail, an
interactive computer service, an electronic communication service, an
electronic communication system of interstate commerce, and a facility of
interstate commerce to engage in a course of conduct that caused, attempted to
cause, and would be reasonably expected to cause substantial emotional distress
to a person, that is, the school employee.

In violation of 18 U.S.C. § 2261A(2) and 18 U.S.C. § 2.
COUNT TWO
(Unlawful Use of Means of Identification of Another Person)

1. The Grand Jury hereby realleges paragraphs one through five of
Count One of this Indictment and incorporates such paragraphs by this
reference as though fully set forth herein.

2. On or about November 2, 2019, in the Middle District of Florida,
and elsewhere, the defendant,

JOEL MICAH GREENBERG,

did knowingly transfer, possess, and use in and affecting interstate commerce,
without lawful authority, a means of identification of another person,
specifically, the name of the school employee on a Twitter account, knowing
that such means of identification belonged to an actual person, with the intent
to commit, to aid and abet, and in connection with, any unlawful activity that
constitutes a violation of Federal law, namely, a violation of 18 U.S.C. §
2261A(2), as charged in Count One of this Indictment.

In violation of 18 U.S.C. § 1028(a)(7) and 18 U.S.C. § 2.

FORFEITURE
1. The allegations contained in Count Two are incorporated by
reference for the purpose of alleging forfeitures pursuant to 18 U.S.C. §§

982(a\2)(B) and 1028(b)(5).
2. Upon conviction of a violation of 18 U.S.C. § 1028, the

defendant shall forfeit to the United States, pursuant to 18 U.S.C. §

982(a)(2)(B), any property constituting, or derived from, proceeds obtained,

directly or indirectly, as a result of such violation, and pursuant to 18 U.S.C. §

1028(b)(5), any personal property used or intended to be used to commit the

offense.

3. If any of the property described above, as a result of any act or

omission of the defendant:

a.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third
party;

has been placed beyond the jurisdiction of the court;
has been substantially diminished in value; or

has been commingled with other property which cannot be

divided without difficulty,
the United States shall be entitled to forfeiture of substitute property pursuant

to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. §§ 982(b)(1) and 1028(g).

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Foreperson

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APR 1991 No.
UNITED STATES DISTRICT COURT
Middle District of Florida
Orlando Division
THE UNITED STATES OF AMERICA
Vs.
JOEL MICAH GREENBERG
INDICTMENT
Violations:
18 U.S.C. § 2261A(2)
18 U.S.C. § 1028(a)(7)
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A true CL
Foreperson
Filed in ON this 17th day of June, 2020.
Clerk ~

 

 

Bail $

 

 

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